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                             FORTHE DISTRICTOF NEW MEXICO
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I-INITEDSTATESOF AMERICA.
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               Plaintiff,                                                        iiLtr iii\
        VS.                                               CRIMINALNO. 05-1849JH

RAFAL MISTRZAK,

               Defendant.

                         CONSENT TO APPEAR BEFORE
              UNITED STATES MAGISTRATE JUDGE IN A FELONY CASE

        The United StatesMagistrate Judgehas explained to me the nature of the offense(s)with

which I am chargedand the maximum possible penaltieswhich might be imposed if I plead

guilty. I have been informed of my right to the assistanceof legal counsel and of my right to

plead or go to trial, judgment and sentencingbefore a United StatesDistrict Judge.

        I HEREBY:      Waive (give up) my right to enter my plea before a United States

District Judge and I consentto entering my plea, knowingly and voluntarily, before a

United StatesMagistrate Judge.




                                                        AL MIS
                                                    Defendant




                                                    RUDOLPHB. CHAVEZ
                                                    Attorneyfor Defendant

Date:              Z -21-91

Before:            Wbulr *. Slp ot-
               United StatesMaeistrateJudee
